   Case 2:21-cv-01530-AMM    Document 496   Filed 06/06/25   Page 1 of 4            FILED
                                                                           2025 Jun-06 PM 03:01
                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ALABAMA
                   SOUTHERN DIVISION


BOBBY SINGLETON, et al.,
         Plaintiffs,
                                       Case No. 2:21-cv-1291-AMM
           v.
                                        THREE-JUDGE COURT
WES ALLEN, et al.,
        Defendants.


EVAN MILLIGAN, et al.,
        Plaintiffs,
                                       Case No. 2:21-cv-1530-AMM
           v.
                                        THREE-JUDGE COURT
WES ALLEN, et al.,
        Defendants.


MARCUS CASTER, et al.,
        Plaintiffs,
                                       Case No. 2:21-cv-1536-AMM
           v.

WES ALLEN, et al.,
        Defendants.


                            PROOF OF SERVICE
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      I, Edmund G. LaCour Jr., do hereby certify that on this date, June 6, 2025, in

addition to serving a copy of Defendants’ Notice of Appeal of this Court’s May 8,

2025 Injunction and Order on Plaintiffs’ counsel through the ECF notification sys-

tem, I also served a copy of Defendants’ Notice of Appeal for each of the above-

captioned cases (Singleton Doc. 329; Milligan Doc. 495; Caster Doc. 406) on Plain-

tiffs’ counsel for each case by email and United States mail, first-class postage pre-

paid, addressed as follows:

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      I declare under penalty of perjury that the foregoing is true and correct.
                                              /s Edmund G. LaCour Jr.
                                              Edmund G. LaCour Jr.
                                                Solicitor General


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                          CERTIFICATE OF SERVICE

      I hereby certify that on June 6, 2025, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification to counsel

of record.



                                               s/ Edmund G. LaCour Jr.
                                               Edmund G. LaCour Jr.
                                               Solicitor General
                                               Counsel for Secretary Allen




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